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5    Attorney for Defendant

6                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
7
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8
       UNITED STATES OF AMERICA,                                    Case No. 2:20-mj-603-EJY
9
                                     Plaintiff,                      STIPULATION TO CONTINUE
10                                                                              TRIAL
                         vs.                                               (Second Request)
11
       FREDRICK MELLON,
12
                                     Defendant.
13

14          IT IS HEREBY STIPULATED AND AGREED by and between the United States

15    of America, through Rachel Kent, Esq., Assistant United States Attorney, together with

16    Daniel         Hill,   Esq.,   counsel      for   defendant    Fredrick   Mellon,   that   the   trial

17    currently scheduled for January 13, 2021 at 9:00a.m. be vacated and set to a date

18    and time convenient to this Court, but no sooner than 60 days from the current trial

19    date. This stipulation is entered into for the following reasons:

20          1. The Defendant is out of custody and does not object to the continuance.

21
            2. Defense counsel needs additional time to prepare for trial
22             ///

23             ///

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     Case 2:20-mj-00603-EJY Document 12 Filed 01/12/21 Page 2 of 3



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2      3. Additionally, denial of this request for continuance could result in a

3         miscarriage of justice.

4      4. The additional time requested by this Stipulation is made in good faith and

5         not for purposes of delay.

6      5. This is the second request for a continuance of the trial.

7
              DATED this 11th day of January 2021.
8
                                             /s/ Daniel Hill
9                                            ______________________
                                             Daniel Hill, Esq.
10                                           Counsel for Defendant

11                                           /s/ Rachel Kent
                                             ______________________
12                                           Rachel Kent, Esq.
                                             Counsel for the United States
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1
                    UNITED STATES DISTRICT COURT
2                       DISTRICT OF NEVADA
3                              -oOo-
4
      UNITED STATES OF AMERICA,                    2:20-mj-603-EJY
5
                            Plaintiff,
6
                                                      ORDER
                 vs.
7
      FREDRICK MELLON,
8
                            Defendant.
9

10         Based on the stipulation and good cause appearing,
11         IT IS HEREBY ORDERED that trial in the above-captioned matter
12   currently scheduled for January 13, 2021 at 9:00 a.m., be vacated and continued to
13     March 24, 2021
                                  at 9:00 a.m., in Courtroom
                                                           . 3D.
14
              January 12, 2021
     DATED
15

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                                           THE HON. ELAYNA J. YOUCHAH
17                                         U.S. MAGISTRATE JUDGE

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